IS 44 (Rev, 10/20)

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided by local rules
of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. (SEE
INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

Place an “X” in the appropriate box (required): [7] Green Bay Division Milwaukee Division

L (a) PLAINTIFFS

DEREK HEFLEY, individually and on behalf of all others similary

situated,

(b) County of Residence of First Listed Plaintiff Oklahoma County
(EXCEPT IN U.S. PLAINTIFF CASES)

DEFENDANTS

(c) Attorneys (Firm Name, Address, and Telephone Number)
SCHOTT, BUBLITZ & ENGEL s.c.
640 W. Moreland Boulevard, Waukesha, WI 53188

(262) 827-1700

NOTE:
THE TRACT

Attorneys (if Known)

JOHNSON CONTROLS, INC.

County of Residence of First Listed Defendant Milwaukee County

(IN U.S. PLAINTIFF CASES O.

OF LAND INVOLVED.

INLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF

IL BASIS OF JURISDICTION (Place an “X" in One Box Only)

CT 1 U.S. Goverment
Plaintiff

9

U.S. Government
Defendant

O

[_]3 Federal Question

(U.S. Government Not a Party)

4 Diversity

(Indicate Citizenship of Parties in Item II)

ci

Citizen of This State

(For Diversity Cases Only)

PTF

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xi

tizen of Another State

Il. CITIZENSHIP OF PRINCIPAL PARTIES Piace an “x” inOne Box for Plaintiff

and One Box for Defendant)

DEF

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Incorporated or Pri

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of Business In This State

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of Business In Another State

Citizen or Subject ofa []3 [[] 3 Foreign Nation Cle (6
Foreign Country
IV. NATURE OF SUIT (Place an “¥" in One Box Only) Click here for: Nature of Suit Code Descriptions.
[ima CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES ]
110 Insurance PERSONAL INJURY PERSONAL INJURY | _]625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane TC 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | }690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability TC] 367 Health Care/ [| 400 State Reapportionment
{] 150 Recovery of Overpayment |_| 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights 430 Banks and Banking
| 151 Medicare Act |] 330 Federal Employers’ Product Liability 830 Patent 450 Commerce
152 Recovery of Defaulted Liability 368 Asbestos Personal 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
oO 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR |_| 880 Defend Trade Secrets | 480 Consumer Credit
of Veteran’s Benefits L 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending Act | 485 Telephone Consumer
190 Other Contract Product Liability 380 Other Personal r | 720 Labor/Management SOCIAL SECURITY Protection Act
195 Contract Product Liability | 360 Other Personal Property Damage Relations 861 HIA (1395ff) ~ 490 Cable/Sat TV
196 Franchise Injury () 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/

| 362 Personal Injury -
Medical Malpractice

Product Liability

REAL PROPERTY

CIVIL RIGHTS

PRISONER PETITIONS

A

751 Family and Medical
Leave Act
790 Other Labor Litigation

|_| 210 Land Condemnation
[| 220 Foreclosure
230 Rent Lease & Ejectment

240 Torts to Land
245 Tort Product Liability
[| 290 All Other Real Property

|_| 440 Other Civil Rights
|| 441 Voting
- 442 Employment

443 Housing/

Accommodations

|] 445 Amer. w/Disabilities -
Employment
|] 446 Amer. w/Disabilities -

Other
|] 448 Education

Habeas Corpus:

| | 463 Alien Detainee

| | 510 Motions to Vacate
Sentence

[ ] 530 General

[| 535 Death Penalty

791 Employee Retirement
Income Security Act

IMMIGRATION

864 SSID Title XVI
865 RSI (405(g))

863 DIWC/DIWW (405(g)) |__

Exchange
890 Other Statutory Actions
|
| 891 Agricultural Acts
893 Environmental Matters

FEDERAL TAX SUITS

895 Freedom of Information

{_] 870 Taxes (U.S. Plaintiff
or Defendant)

[|_| 871 IRS—Third Party
26 USC 7609

Other:

540 Mandamus & Other

550 Civil Rights

555 Prison Condition

560 Civil Detainee -
Conditions of
Confinement

462 Naturalization Application
465 Other Immigration
Actions

Act

896 Arbitration

899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

|] 950 Constitutionality of

State Statutes

Kk ORIGIN (Place an “X" in One Box Only)

1 Original 2 Removed from 3. Remanded from oO 4 Reinstated or oO 5 Transferred from 6 Multidistrict oO 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

VI. CAUSE OF ACTION

28 USC 1332

Cite the U.S. Civil Statute under which you are filing (De not cite jurisdictional statutes unless diversity):

Brief description of c

ause:

Data Breach Class Action under CAFA

VII. REQUESTED IN
COMPLAINT:

[x] CHECK IF THIS

UNDER RULE 2

IS A CLASS ACTION
3, F.R.Cv.P.

DEMAND $
5,000,000.00

CHECK YES only if demanded in complaint:

JURY DEMAND:

Rl yes [No

VII. RELATED CASE(S)

IF ANY

(See updated instructions):

JUDGE

DOCKET NUMBER

DATE
07/16/2025

FOR OFFICE USE ONLY

RECEIPT #

AMOUNT

ase

2:25-€v-01036-

Ss ATURE OF ATTORNEY OF RECORD
petiak dh SAL

IFP,

JUDGE

MAG. JUDGE

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